 1
                                      UNITED STATES BANKRUPTCY COURT
 2                                    WESTERN DISTRICT OF WASHINGTON
 3

 4     In re:                                                       Case No. 19-40662-BDL

 5     CELENA ANN WILLIAMS                                          ATTORNEY’S APPLICATION FOR
                                                                    COMPENSATION IN A CHAPTER 13 CASE
 6                                       Debtor(s).

 7

 8     ELLEN ANN BROWN                                                      , attorney for the debtor(s), applies for
 9   fees and/or costs and expenses in the amount of $          2111.00                      .

10   I certify under penalty of perjury that the following is true and correct:
11
             1. This application includes amounts for:
12              ☐Pre-Confirmation compensation.
                ☒Post-Confirmation compensation.
13
                ☐Pre- and Post-Confirmation compensation.
14           2. The requested sum represents services rendered and / or costs and expenses incurred from
                .     11/22/2017. to    11/18/2019                  , as set forth in the itemized time record
15
                attached pursuant to Local Rules W.D. Wash. Bankr. 2016-1(e)(3).
16           3. A plan
                ☒ was confirmed in this case on         5/9/19                       (ECF Docket No.        23
17
                ).
18              ☐ has not been confirmed. If a plan has not been confirmed, I have attached an explanation
                of why I should be awarded compensation pre-confirmation.
19
             4. This is my _____FIRST______________ (first, second, etc.) application for compensation.
20              I was previously awarded compensation as follows:
                $________________________ on ______________ (ECF Docket No.                                  )
21              $________________________ on ______________ (ECF Docket No.                                  )
                $________________________ on ______________ (ECF Docket No.                                  )
22
                $________________________ on ______________ (ECF Docket No.                                  )
23              $________________________ on ______________ (ECF Docket No.                                  )
             5. The debtor(s) paid me $      650             . prior to filing.
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             6. If approved, the total approved compensation will be $__6111.00_______________
25              (includes the amount debtor(s) paid me directly prior to filing this case, all compensation
                previously awarded and the compensation requested in this application).

     Attorney’s Application for Compensation in a Chapter 13 Case                                             Page 1
     Local Forms W.D. Wash. Bankr., Form 13-9
     Eff. 12/14
             7. If I was awarded the presumptive fee and this is my first application for compensation, the
 1
                attached itemized time record includes all services I have provided for representation of the
 2              debtor(s) in any capacity whatsoever in connection with this case.
             8. Allowance of the compensation requested in this application
 3              ☐ will require plan modification (e.g., the compensation makes the plan infeasible).
 4              ☒ will not require plan modification.

 5   I REQUEST THAT:
 6         1. The Court award the compensation requested.
           2. The awarded compensation be allowed as an administrative expense under
 7            11 U.S.C. § 503(b) and paid according to the confirmed plan or, if a plan is never confirmed,
              prior to dismissal or conversion (subject to applicable Trustee’s fee).
 8
           3. Unless the Court orders otherwise, if this case is dismissed or converted after plan
 9            confirmation, the Chapter 13 Trustee shall send undisbursed plan payments on hand to the
              debtor(s) in care of Applicant, if the Applicant is the debtor(s)’ attorney at the time of
10            dismissal or conversion.
11
     A proposed order that conforms to Local Forms W.D. Wash. Bankr., Form 13-10 is attached.
12

13   DATE: __12/13/19____________________
     .
14

15               /s/ Ellen Ann Brown
                 ELLEN ANN BROWN WSB 27992
16               APPLICANT

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     Attorney’s Application for Compensation in a Chapter 13 Case                                      Page 2
     Local Forms W.D. Wash. Bankr., Form 13-9
     Eff. 12/14
